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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )         No. 6:22-CR-11-REW-HAI-1
 v.                                               )
                                                  )                     ORDER
 JUSTIN E. RIDNER,                                )
                                                  )
       Defendant.                                 )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 22 (Rearraignment Minute Entry),

Magistrate Judge Ingram recommended that the undersigned accept Defendant Justin E. Ridner’s,

guilty plea and adjudge him guilty of Count 1 of the Indictment. See DE 25 at 2

(Recommendation); see also DE 24 (Plea Agreement). Judge Ingram expressly informed

Defendant of his right to object to the Recommendation to secure de novo review. See DE 25 at 3.

The established, three-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(noting that the Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in

his objections to the magistrate[ judge]’s report and recommendation . . . he has forfeited his right

to raise this issue on appeal.’”) (quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996) (quote

brackets simplified)); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver

and forfeiture); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”




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filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 25, ACCEPTS Defendant’s guilty plea, and ADJUDGES

           Defendant guilty of Count 1 of the Indictment (DE 1);

       2. Further, per Judge Ingram’s unopposed recommendation (DE 25 at ¶ 4) and

           Defendant’s agreement (DE 24 at ¶ 10), the Court provisionally FINDS that the

           property identified in the operative indictment (DE 1 at 2-3) is forfeitable and that

           Defendant has an interest in said property, and preliminarily ADJUDGES Defendant’s

           interest in such property FORFEITED. Under Criminal Rule 32.2, and absent pre-

           judgment objection, “the preliminary forfeiture order becomes final as to” Defendant

           at sentencing. Fed. R. Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture

           at that time. See id. at (b)(4)(B).

       3. The Court CANCELS the jury trial in this matter; and

       4. The Court will issue a separate sentencing order.1

       This the 8th day of July, 2022.




1
  Upon concluding the hearing, Judge Ingram remanded Ridner to the United States Marshal
pending sentencing. See DE 22 (Rearraignment Minute Entry). This was his status pre-plea.
DE 11. The Court, thus, sees no need to further address detention at this time; Ridner shall remain
detained pending sentencing.
                                                 2
